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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                      CRIMINAL ACTION
v.                                          )
                                            )                      No. 07-20167-14-KHV
EDWARD QUINCY POTTS,                        )
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       This matter is before the Court on defendant’s Motion Under 28 U.S.C. § 2255 To Vacate,

Set Aside Or Correct Sentence By A Person In Federal Prison (Doc. #624) filed February 22, 2010.

For reasons stated below, the Court overrules defendant’s motion.

                                      Factual Background

       On February 17, 2009, pursuant to a plea agreement, defendant pled guilty to conspiracy to

manufacture, to possess with intent to distribute and to distribute 50 grams or more of cocaine base

and to possess with intent to distribute five kilograms or more of cocaine. See Petition To Enter Plea

Of Guilty And Order Entering Plea (Doc. #362). On February 24, 2009, defendant filed a pro se

motion to withdraw his guilty plea. See Doc. #369. Defendant alleged that he entered his plea under

pressure and did not fully understand what he was signing. See id. In particular, he alleged that his

attorney had not discussed the evidence against him and that he was only responsible for acting as

a middle man for one phone call involving the shipment of two kilograms of cocaine. See id. At

the hearing on defendant’s pro se motion, defendant decided to withdraw the motion. See Clerk’s

Courtroom Minute Sheet (Doc. #379) filed April 2, 2009.
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       Defendant’s total offense level was 29, with a criminal history category II, resulting in a

guideline range of 97 to 121 months. Because the statutory minimum was 120 months, the

sentencing range was 120 to 121 months in prison. Defendant objected to the calculation of drug

quantity in the Presentence Investigation Report (“PSIR”). Because defendant’s objections did not

impact the statutory minimum sentence of 120 months, the Court overruled defendant’s objections

as moot and sentenced defendant to 120 months in prison. See Judgment In A Criminal Case (Doc.

#490) filed July 8, 2009. Defendant did not appeal. Daniel J. Ross represented defendant

throughout this proceeding.

       On February 22, 2010, defendant filed a pro se motion to vacate his sentence under 28 U.S.C.

§ 2255. Liberally construed, defendant’s motion and memorandum allege that Mr. Ross was

ineffective because (1) he did not conduct a reasonable pretrial investigation or develop a defense

strategy, (2) he coerced defendant to plead guilty and misinformed defendant that he would receive

a sentence of less than 120 months in prison, (3) he failed to adequately raise and preserve

objections to drug quantity at sentencing and (4) he did not consult with defendant about a possible

appeal.1

                                              Analysis

       The standard of review of Section 2255 petitions is quite stringent. The Court presumes that



       1
               In his motion, defendant raises three claims which do not appear to relate to his case:
(1) that counsel was ineffective because he pressured defendant to plead guilty without a plea
agreement, see Motion To Vacate (Doc. #624) at 5, (2) that counsel was ineffective because he filed
an Anders brief on direct appeal, see id. at 8, and (3) that counsel was ineffective because he
continued to represent defendant under a conflict of interest after he had filed a motion to withdraw
as counsel, see id. Here, defendant pled guilty pursuant to a plea agreement, he did not file an
appeal and his counsel did not file a motion to withdraw. Because defendant has not explained how
these claims relate to his case, the Court overrules them.

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the proceedings which led to defendant’s conviction were correct. See Klein v. United States, 880

F.2d 250, 253 (10th Cir. 1989). To prevail, defendant must show a defect in the proceedings which

resulted in a “complete miscarriage of justice.” Davis v. United States, 417 U.S. 333, 346 (1974).

       To establish ineffective assistance of counsel, defendant must show that (1) the performance

of counsel was deficient and (2) the deficient performance was so prejudicial that there is a

“reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Strickland v. Washington, 466 U.S. 668, 687, 694 (1984). To meet the

first element, i.e. counsel’s deficient performance, defendant must establish that counsel “made

errors so serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant by the

Sixth Amendment.” Id. at 687. In other words, defendant must prove that counsel’s performance

was “below an objective standard of reasonableness.” United States v. Walling, 982 F.2d 447, 449

(10th Cir. 1992). The Supreme Court recognizes, however, “a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance.” Strickland, 466 U.S. at

689; see United States v. Rantz, 862 F.2d 808, 810 (10th Cir. 1988) (citation omitted), cert. denied,

489 U.S. 1089 (1989). As to the second element, the Court must focus on the question “whether

counsel’s deficient performance render[ed] the result of the trial unreliable or the proceeding

fundamentally unfair.” Lockhart v. Fretwell, 506 U.S. 364, 372 (1993).

I.     Failure To Investigate Or Develop Defense Strategy – Claim 1

       Defendant argues that counsel was ineffective because he did not conduct a reasonable

pretrial investigation or develop a defense strategy.      Defendant’s conclusory allegations of

inadequate pretrial preparation do not establish deficient performance or prejudice and are

insufficient to warrant an evidentiary hearing. See United States v. Kilpatrick, 124 F.3d 218, 1997


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WL 537866, at *3 (10th Cir. Sept. 2, 1997) (allegations of ineffective assistance must be specific

and particularized; conclusory allegations do not warrant hearing); Hatch v. Oklahoma, 58 F.3d

1447, 1457, 1471 (10th Cir. 1995) (same), cert. denied, 517 U.S. 1235 (1996). In his declaration,

defendant alleges that (1) counsel never informed defendant of his opinion of the government

evidence including the fact that the government had no witnesses against him, (2) counsel failed to

file a motion to suppress the intercepted telephone calls which were the only evidence linking

defendant to the charged offenses and (3) counsel failed to file a motion to obtain the minutes of the

grand jury proceeding. See Declaration Of Edward Q. Potts Pursuant To 18 U.S.C. § 1746 (“Potts

Declaration”) ¶¶ 5-10, attached to Memorandum Of Law (Doc. #625) filed February 22, 2010.

Below, the Court addresses each of these claims in turn.

       Defendant argues that counsel never informed him of the strength of the government’s case

and that the government had no witnesses against him. Defendant concedes that the government had

evidence of telephone calls (which would of course involve testimony by law enforcement officers),

but counsel did not inform him that the government had no other witnesses. Defendant has not

shown that the government in fact lacked other witnesses who were willing to testify against him.

Even so, based on the plea agreement and his statements at the plea hearing, defendant was well

aware of the evidence against him and that the nature of the government’s case consisted primarily

of electronic surveillance and physical surveillance of defendant’s associates.2 Defendant has not


       2
                This surveillance included a series of phone calls between defendant and Boytina
Locke in which defendant inquired about the availability of cocaine and discussed where and when
his associates would meet Locke. The next day, by telephone, defendant told Locke where to meet
his associates. Shortly thereafter, Locke met Rodney McNeil and Mitchell Henderson at the
designated location. McNeil and Henderson left together in a car, but officers stopped the vehicle
and found two kilograms of cocaine inside the vehicle. In addition to the electronic surveillance,
                                                                                    (continued...)

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shown that counsel’s failure to discuss the lack of government witnesses was deficient or prejudicial

(that is, it would have altered his decision to plead guilty).

       Defendant complains that counsel did not file a motion to suppress the wiretap evidence, but

he has not shown any factual or legal basis for such a motion or that such a motion would have

likely affected the outcome of the case. Only those motions having a solid foundation, not every

possible motion, should be filed. United States v. Afflerbach, 754 F.2d 866, 870 (10th Cir.), cert.

denied, 472 U.S. 1029 (1985). Defendant provides no facts which would suggest that counsel’s

failure to file a motion to suppress was deficient or prejudicial.3

       Finally, defendant argues that counsel was ineffective because he failed to file a motion to

obtain grand jury testimony. Defendant has not identified what the grand jury transcripts would

have revealed or how any such information would have changed defendant’s decision to plead

guilty. Absent such information, defendant cannot show that counsel’s failure to obtain such

transcripts was deficient or prejudicial.

       In sum, defendant has not shown that defense counsel’s pretrial investigation and case

strategy was deficient or that his performance rendered the result of his guilty plea “fundamentally

unfair.” Lockhart, 506 U.S. at 372.




       2
        (...continued)
the plea agreement notes that Jeremy Jacobs was familiar with Locke’s associates including
defendant.
       3
                The Court overruled a co-defendant’s motion which argued that the government
unlawfully intercepted wire communications on two target phones because (1) the government
referred to an expired Attorney General order in the wiretap applications and (2) the government did
not establish necessity for the wiretaps. See United States v. Grigsby, No. 07-20167-09, 2009 WL
385856, at *2-5 (D. Kan. Feb. 17, 2009).

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II.    Advice To Plead Guilty And Sentencing Prediction – Claim 2

       In his memorandum, defendant argues that counsel erroneously told defendant that he would

receive a term of imprisonment less than 120 months.4 Memorandum Of Law (Doc. #625) at 5.

Initially, the Court rejects defendant’s claim because he specifically admitted at the change of plea

hearing that no one made any promise or guarantee about his sentence. In addition, defendant did

not raise the present allegation with his original claim that counsel pressured him to plead guilty by

noting the reputation of the United States Attorney for being able to convict individuals with no

evidence. See Doc. #369. Even if Mr. Ross told defendant that his sentence would be less than



       4
                 Defendant also alleges that counsel “persuade[d]” and “pressured” him to plead
guilty, see Motion To Vacate (Doc. #624) at 6; Potts Declaration ¶ 11, but as evidence of pressure,
he only cites (1) counsel’s failure to explain the terms of the plea agreement including the
government recitation of the factual basis of the plea and (2) counsel’s failure to explain the
possibility that he would receive a sentence of 120 months in prison. The Court addresses above
defendant’s claim that counsel did not explain the possible length of defendant’s prison term. As
to defendant’s claim that counsel did not fully explain the terms of the plea agreement, his argument
is conclusively refuted by the record. In his written plea agreement and the plea colloquy, defendant
affirmed under oath that he had discussed the plea agreement with counsel, that no one forced or
threatened him to plead guilty, that no promises were made to induce him to plead guilty and that
he was fully satisfied with the advice and representation of counsel. Absent a believable reason
justifying departure from their apparent truth, the accuracy and truth of an accused’s statements at
a Rule 11 proceeding at which his plea is accepted are conclusively established. United States v.
Glass, 66 Fed. Appx. 808, 810 (10th Cir. June 3, 2003); United States v. Jones, 124 F.3d 218, 1997
WL 580493, at *1 (10th Cir. Sept.19, 1997); United States v. Bambulas, 571 F.2d 525, 526 (10th
Cir. 1978). Defendant’s conclusory statement that counsel did not explain the plea agreement is
insufficient to establish that counsel’s performance was deficient. Even if counsel had failed to fully
explain the terms of the plea agreement, defendant has not shown a reasonable probability that but
for counsel’s alleged error, the results of the plea proceeding would have been different, i.e. that he
would not have agreed to plead guilty. See United States v. Young, 206 Fed. Appx. 779, 785 (10th
Cir. 2006); Rantz, 862 F.2d at 810-11. In particular, after the Honorable John W. Lungstrum
reviewed the terms of the plea agreement with defendant at the plea hearing, defendant pled guilty.
Moreover, some five weeks after his plea, defendant withdrew his claim that he entered his plea
under pressure and did not fully understand what he was signing. See Clerk’s Courtroom Minute
Sheet (Doc. #379) filed April 2, 2009.


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120 months, defendant has not shown a reasonable probability that but for counsel’s prediction, the

results of the plea proceeding would have been different, i.e. that he would not have agreed to plead

guilty. See Young, 206 Fed. Appx. at 785; Rantz, 862 F.2d at 810-11. At the plea hearing, Judge

Lungstrum fully explained that the mandatory statutory minimum for the offense was 10 years in

prison and that unless he were to qualify under one of the few exceptions that the law recognizes,

the Court simply had no power to give him a sentence shorter than 10 years in prison.5 See United

States v. Gordon, 4 F.3d 1567, 1571 (10th Cir. 1993) (no prejudice from attorney miscalculation

because court explained that its calculation may differ from attorney’s calculation and that it would

consider factual data relating to any counts dismissed or about to be dismissed); Doganiere v. United

States, 914 F.2d 165, 168 (9th Cir. 1990) (attorney sentence miscalculation does not result in

prejudice where court had explained that it retained discretion as to what sentence would be), cert.

denied, 499 U.S. 940 (1991). Judge Lungstrum further explained that the government had discretion

to determine whether defendant had provided substantial assistance and that absent a government

motion, the Court lacked authority to give defendant a sentence below the mandatory statutory

minimum.

        In sum, defendant has not alleged or shown a defect in the proceedings which resulted in a

“complete miscarriage of justice.” Davis, 417 U.S. at 346. The Court therefore overrules his second

claim for relief.




        5
              The plea petition and plea agreement also notified defendant that the mandatory
minimum sentence was 10 years in prison. See Petition To Enter Plea Of Guilty And Order Entering
Plea (Doc. #362) filed February 17, 2009 ¶ 10; Plea Agreement ¶ 1, attached to Petition (Doc. #362).

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III.   Failure To Adequately Present Objections At Sentencing – Claim 3

       Defendant complains that counsel did not adequately object to the calculation of drug

quantity in the PSIR, that he did not object to the Court’s summary denial of his objections and he

did not ask to have his argument “on the record” for appellate review. See Memorandum Of Law

(Doc. #625) at 5-6. As noted, the Court overruled defendant’s objections to drug quantity because

they did not impact his statutory minimum sentence of 120 months. Because drug quantity did not

impact the defendant’s sentence, counsel’s failure to argue further on the issue was not deficient or

prejudicial. The Court therefore overrules defendant’s third claim for relief.

IV.    Failure To Consult Defendant About An Appeal – Claim 4

       Defendant argues that counsel did not consult with him about a possible appeal. See

Memorandum Of Law (Doc. #625) at 6-15. In Roe v. Flores-Ortega, 528 U.S. 470 (2000), the

Supreme Court rejected a bright-line rule that counsel’s failure to consult with defendant regarding

an appeal is per se deficient. Id. at 480. Instead, counsel must consult defendant about an appeal

if counsel has “reason to think either (1) that a rational defendant would want to appeal (for

example, because there are nonfrivolous grounds for appeal), or (2) that this particular defendant

reasonably demonstrated to counsel that he was interested in appealing.” Id. In evaluating this type

of claim, the Court must take into account all information which counsel knew or should have

known. Id. Though not determinative, the Court must also consider the highly relevant factor

whether the potential appeal followed a plea or a verdict “both because a guilty plea reduces the

scope of potentially appealable issues and because such a plea may indicate that the defendant seeks

an end to judicial proceedings.” Id. When defendant pleads guilty, the Court must also consider

such factors as whether defendant received the sentence bargained for as part of the plea and


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whether the plea expressly reserved or waived some or all appeal rights. Id. In addition to deficient

performance, defendant must show that counsel’s failure to consult with him about an appeal was

prejudicial.   To show prejudice in these circumstances, defendant must show a reasonable

probability that but for counsel’s failure to consult with him about an appeal, he would have timely

appealed. Id. at 484.

       Based on the record, the Court finds that counsel’s alleged failure to consult defendant about

an appeal was neither deficient nor prejudicial. First, defendant’s conviction was the result of a

guilty plea, and his actual sentence (10 years) was the statutory minimum sentence about which

Judge Lungstrum and the plea agreement informed defendant. Defendant did not enter a conditional

plea and he expressly agreed that he would not be permitted to withdraw his plea if he did not agree

with the sentence which the Court imposed. Second, in the plea agreement, defendant waived his

right to appeal or collaterally attack his sentence, thus indicating that he sought an end to judicial

proceedings. Third, defendant suggests that prior to his plea, he told Mr. Ross that he was only

involved in brokering limited drug transactions, see Potts Declaration ¶ 11, but he has not alleged

or shown that he expressed to counsel any interest in appealing his conviction or sentence which was

based on the mandatory minimum sentence for his “limited” drug transactions. Based on these facts,

reasonable counsel would believe that defendant did not have any non-frivolous issues to appeal and

that defendant did not desire to appeal. Therefore, counsel was not deficient in failing to consult

defendant about a possible appeal. See United States v. Rios-Garcia, No. 02-20104-01-KHV, 2005

WL 3845345, at *7 (D. Kan. Dec. 8, 2005), appeal dismissed on request for certificate of

appealability, 200 Fed. Appx. 793 (10th Cir. 2006), cert. denied, 127 S. Ct. 1343 (2007); United

States v. Flowers, No. 03-3051-SAC, 2004 WL 1088767, at *8 (D. Kan. 2004).


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       Even if counsel was deficient in not consulting defendant about a possible appeal, defendant

has not shown a reasonable probability that but for counsel’s deficient performance, an appeal would

have been filed.6 Defendant has not identified and the Court cannot find any non-frivolous grounds

on which he could appeal in light of the waiver in the plea agreement and the minimum sentence

required by statute. Defendant has not shown a reasonable probability that he would have filed a

notice of appeal had his counsel consulted with him. Rios-Garcia, 2005 WL 3845345, at *8;

Flowers, 2004 WL 1088767, at *8.

V.     Conclusion

       The files and records in this case conclusively show that defendant is not entitled to relief.

Moreover, defendant does not allege specific and particularized facts which, if true, would entitle

him to relief. Accordingly, no evidentiary hearing or response by the government is required. See

28 U.S.C. § 2255; Kilpatrick, 1997 WL 537866, at *3 (allegations of ineffective assistance must be

specific and particularized; conclusory allegations do not warrant hearing); United States v. Marr,

856 F.2d 1471, 1472 (10th Cir. 1988) (no hearing required where factual matters raised by

Section 2255 petition may be resolved on record); United States v. Barboa, 777 F.2d 1420, 1422-23

(10th Cir. 1985) (hearing not required unless “petitioner’s allegations, if proved, would entitle him

to relief” and allegations are not contravened by the record).

       IT IS THEREFORE ORDERED that defendant’s Motion Under 28 U.S.C. § 2255 To

Vacate, Set Aside Or Correct Sentence By A Person In Federal Prison (Doc. #624) filed

February 22, 2010 be and hereby is OVERRULED.


       6
               The Court does not presume prejudice in these circumstances. That presumption only
applies where counsel disregards a defendant’s specific instructions to file an appeal. See Roe, 528
U.S. at 477, 484-85; United States v. Snitz, 342 F.3d 1154, 1155-56 (10th Cir. 2003). Here,
defendant does not allege that he asked counsel to file an appeal, but rather that counsel did not
consult with him about the possibility of an appeal.

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      Dated this 15th day of March, 2010, at Kansas City, Kansas.

                                          s/ Kathryn H. Vratil
                                          KATHRYN H. VRATIL
                                          United States District Judge




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